     Case 2:19-cv-08971-VBF-SHK Document 33 Filed 09/22/21 Page 1 of 1 Page ID #:202



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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
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                                          )
13    ROSALBA C. LARTUNDO and             ) No. LA CV 19-08971-VBF-SHK
      JASMINE MARIE SOLORZANO,            )
14                                        )
                       Plaintiffs,        )    JUDGMENT
15                                        )
           v.                             )
16                                        )
      ANDREW M. SAUL                      )
17    (Commissioner of Social Security),  )
                                          )
18                     Defendant.         )
      ___________________________________)
19
20          IT IS ADJUDGED that the final decision of the Commissioner of Social Security is
21    AFFIRMED and this action is DISMISSED without prejudice.
22
23    Dated: September 22, 2021
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24
                                                  Honorable Valerie Baker Fairbank
25                                                Senior United States District Judge
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